
PER CURIAM.
GRANTED.
On remand from the U.S. Supreme Court in Ford v. Louisiana, — U.S.-, 107 S.Ct. 1272, 94 L.Ed.2d 133, which vacated the original judgment in this case. The case is remanded to the district court to conduct an evidentiary hearing on the claim that the state exercised jury challenges in a racially discriminatory manner. Batson v. Ky., 476 U.S. -, 106 S.Ct. 1712, 90 L.Ed.2d 69. Petitioner is ordered transferred by La. Dept. of Corrections to the Caddo Parish Detention Center. Petitioner is reserved the right to appeal any adverse ruling.
